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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                              CRIMINAL MINUTES - TRIAL

  X             A telephonic Status Conference is held at 2:00 pm remind counsel of their obligations re communicating
                with jurors.
                                                                                                      1       :      55
                                                                     Initials of Deputy Clerk   lmb




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